                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA            )          DOCKET NO. 3:06CR96-W
                                    )
       v.                           )
                                    )
(1) WILLIAM ROOSEVELT CLOUD         )          SCHEDULING ORDER
(3) DANIEL E. GREENE                )
(5) JUDERITA RUSSELL                )
(6) BETTY H. NANTZ                  )
____________________________________)

        THIS MATTER IS BEFORE THE COURT upon the United States Attorney’s motion
for the Court to rule upon the parties’ joint motion for an order relating to scheduling.

       The Court finds that the parties have stated sufficient cause for the scheduling dates
proposed.

        IT IS, THEREFORE, ORDERED that the parties’ joint motion is GRANTED.
Pretrial motions, including motions to compel discovery, motions to suppress, and motions under
Rule 7, 8, 12, 13, 14, 16, and 41 of the Federal Rules of Criminal Procedure shall be filed no
later than July 23, 2007, responses to any such motions shall be filed within ten (10) business
days of the filing of any such motion, and any reply briefs shall be filed no later than five (5)
business days after the filing of any such response. Proposed voir dire questions and proposed
jury instructions shall be filed by September 24, 2007.

       SO ORDERED.
                                               Signed: May 29, 2007




       Case 3:06-cr-00096-FDW          Document 84       Filed 05/29/07     Page 1 of 1
